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                    Exhibit 2
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                                                                                                                           PATENT

                                                U.S. District Court
                                        District of Delaware (Wilmington)
                                 CIVIL DOCKET FOR CASE #: 1:19-cv-02021-LPS


 Novartis Pharmaceuticals Corporation v. Alembic Pharmaceuticals                       Date Filed: 10/24/2019
 Limited et al                                                                         Jury Demand: None
 Assigned to: Judge Leonard P. Stark                                                   Nature of Suit: 835 Patent - Abbreviated
 Related Cases: 1:19-cv-01979-LPS                                                      New Drug Application(ANDA)
                1:19-cv-02053-LPS                                                      Jurisdiction: Federal Question
 Cause: 35:271 Patent Infringement
 Plaintiff
 Novartis Pharmaceuticals Corporation                                    represented by Daniel M. Silver
                                                                                        McCarter & English, LLP
                                                                                        Renaissance Centre
                                                                                        405 N. King Street, 8th Floor
                                                                                        Wilmington, DE 19801
                                                                                        (302) 984-6300
                                                                                        Fax: (302) 691-1260
                                                                                        Email: dsilver@mccarter.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Alexandra M. Joyce
                                                                                       McCarter & English, LLP
                                                                                       Renaissance Centre
                                                                                       405 N. King Street, 8th Floor
                                                                                       Wilmington, DE 19801
                                                                                       (302) 984-6392
                                                                                       Fax: (302) 450-4235
                                                                                       Email: ajoyce@mccarter.com
                                                                                       ATTORNEY TO BE NOTICED


 V.
 Defendant
 Alembic Pharmaceuticals Limited
 Defendant
 Alembic Global Holding SA
 Defendant
 Alembic Pharmaceuticals, Inc.
 Defendant
 Macleods Pharmaceuticals Ltd.
 Defendant

https://ecf.ded.uscourts.gov/cgi-bin/DktRpt.pl?487423345777209-L_1_0-1                                                            1/3
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 Macleods Pharma USA, Inc.
 Defendant
 Natco Pharma Limited
 Defendant
 Natco Pharma, Inc.


  Date Filed            #    Docket Text
  10/24/2019             1 COMPLAINT filed against Alembic Global Holding SA, Alembic Pharmaceuticals
                           Limited, Alembic Pharmaceuticals, Inc., Macleods Pharma USA, Inc., Macleods
                           Pharmaceuticals Ltd., Natco Pharma Limited, Natco Pharma, Inc. - Magistrate Consent
                           Notice to Pltf. ( Filing fee $ 400, receipt number 0311-2763203.) - filed by Novartis
                           Pharmaceuticals Corporation. (Attachments: # 1 Exhibits A-D, # 2 Civil Cover Sheet)
                           (kmd) (Entered: 10/25/2019)
  10/24/2019             2 Notice, Consent and Referral forms re: U.S. Magistrate Judge jurisdiction. (kmd) (Entered:
                           10/25/2019)
  10/24/2019             3 Supplemental information for patent cases involving an Abbreviated New Drug
                           Application (ANDA) - Date Patentee(s) Received Notice: 9/11/2019. Date of Expiration of
                           Patent: see attached.Thirty Month Stay Deadline: 7/7/2023. (kmd) (Entered: 10/25/2019)
  10/24/2019             4 Report to the Commissioner of Patents and Trademarks for Patent/Trademark Number(s)
                           8,101,659; 8,796,331; 8,877,938; 9,388,134. (kmd) (Entered: 10/25/2019)
  10/24/2019             5 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Novartis AG for
                           Novartis Pharmaceuticals Corporation filed by Novartis Pharmaceuticals Corporation.
                           (kmd) (Entered: 10/25/2019)
  10/24/2019                 No Summons Issued. (kmd) (Entered: 10/25/2019)
  10/30/2019                 Case Assigned to Judge Leonard P. Stark. Please include the initials of the Judge (LPS)
                             after the case number on all documents filed. (rjb) (Entered: 10/30/2019)
  12/12/2019             6 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Alembic Pharmaceuticals, Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                           Daniel) (Entered: 12/12/2019)
  12/12/2019             7 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Alembic Pharmaceuticals Limited waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                           Daniel) (Entered: 12/12/2019)
  12/12/2019             8 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Macleods Pharma USA, Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                           Daniel) (Entered: 12/12/2019)
  12/12/2019             9 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Macleods Pharmaceuticals Ltd. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                           Daniel) (Entered: 12/12/2019)
  12/12/2019           10 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Natco Pharma, Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver, Daniel)
                          (Entered: 12/12/2019)
  12/12/2019           11 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Natco Pharma Limited waiver sent on 11/8/2019, answer due 1/7/2020. (Silver, Daniel)
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                 )
NOVARTIS PHARMACEUTICALS                         )
CORPORATION,                                     )
                                                 )
                  Plaintiff,                     )
                                                 )
                  v.                             )
                                                 )
ALEMBIC PHARMACEUTICALS                          )                 C.A. No. ________
LIMITED, ALEMBIC GLOBAL                          )
HOLDING SA, ALEMBIC                              )
PHARMACEUTICALS, INC.,                           )
MACLEODS PHARMACEUTICALS                         )
LTD., MACLEODS PHARMA USA,                       )
INC., NATCO PHARMA LIMITED,                      )
NATCO PHARMA, INC.,                              )
                                                 )
                  Defendants.                    )
                                                 )

                                            COMPLAINT

         Novartis Pharmaceuticals Corporation (“Novartis”), by its attorneys, hereby alleges as

follows:

                                    NATURE OF THE ACTION

         1.       This is a patent infringement action arising under Title 35 of the United States

Code and concerning Abbreviated New Drug Applications (“ANDAs”) submitted to the United

States Food and Drug Administration (“FDA”) by the above-named defendants seeking FDA

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

sacubitril/valsartan tablets, generic versions of Novartis’s ENTRESTO® tablets, 24 mg/26 mg,

49 mg/51 mg, and 97 mg/103 mg, prior to the expiration of U.S. Patents Nos. 8,101,659 (the

“’659 patent”), 8,796,331 (the “’331 patent”), 8,877,938 (the “’938 patent”), and/or 9,388,134

(the “’134 patent”).


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                                             PARTIES

A.       Novartis

         2.       Novartis Pharmaceuticals Corporation is a corporation organized and existing

under the laws of the State of Delaware, having a principal place of business in East Hanover,

New Jersey.

B.       Defendants

         a.       Alembic Pharmaceuticals Limited; Alembic Global Holding SA;
                  Alembic Pharmaceuticals, Inc.
                  (ANDA No. 213682)

         3.       On information and belief, Alembic Pharmaceuticals Limited is a corporation

organized and existing under the laws of India, having a principal place of business at Alembic

Road, Vadodara, Gujarat, India 390003.

         4.       On information and belief, Alembic Global Holding SA is a corporation

organized and existing under the laws of Switzerland, having a principal place of business at Rue

Fritz-Courvoisier 40, 2300 La Chaux-de-Fonds, Switzerland. On information and belief,

Alembic Global Holding SA is a wholly owned subsidiary of Alembic Pharmaceuticals Limited.

         5.       On information and belief, Alembic Pharmaceuticals, Inc. is a corporation

organized and existing under the laws of the State of Delaware, having a registered agent for the

service of process at National Registered Agents, Inc., 160 Greentree Drive, Suite 101, Dover,

Delaware 19904, and having a principal place of business at 750 Route 202, Bridgewater, New

Jersey 08807. On information and belief, Alembic Pharmaceuticals, Inc. is a wholly owned

subsidiary of Alembic Global Holding SA.




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         6.       On information and belief, Alembic Pharmaceuticals Limited develops,

manufactures, distributes, sells, and/or imports drug products for the entire United States market

and does business in every state including Delaware, either directly or indirectly.

         7.       On information and belief, Alembic Global Holding SA develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         8.       On information and belief, Alembic Pharmaceuticals, Inc., manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         9.       By a letter dated September 11, 2019 (“Alembic Notice Letter”), Alembic

Pharmaceuticals Limited notified Novartis that (i) Alembic Pharmaceuticals Limited had

submitted to the FDA ANDA No. 213682 for sacubitril/valsartan tablets, 24 mg/26 mg, 49

mg/51 mg, and 97 mg/103 mg (“Alembic ANDA Products”), seeking FDA approval to engage in

the commercial manufacture, use, sale, offer for sale, and/or importation of the Alembic ANDA

Products in or into the United States, including Delaware, prior to the expiration of the ’938 and

’134 patents, and that (ii) ANDA No. 213682 includes a certification pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) against the’938 and ’134 patents.

         10.      Alembic Pharmaceuticals Limited has committed an act of infringement in this

judicial district by filing ANDA No. 213682 with the intent to make, use, sell, offer for sale,

and/or import the Alembic ANDA Products in or into this judicial district, prior to the expiration

of the ’938 and ’134 patents, an act of infringement that has led and will lead to foreseeable harm

and injury to Novartis, a Delaware corporation.




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         11.      On information and belief, Alembic Global Holding SA acted in concert with and

under the direction of Alembic Pharmaceuticals Limited, and acted in concert with and directed

Alembic Pharmaceuticals, Inc., in the preparation and submission of ANDA No. 213682, and, if

the ANDA is approved, will act in concert with and under the direction of Alembic

Pharmaceuticals Limited, and will act in concert with and direct Alembic Pharmaceuticals, Inc.,

to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of the

Alembic ANDA Products in or into the United States, including Delaware, prior to the expiration

of the ’938 and ’134 patents.

         12.      On information and belief, Alembic Pharmaceuticals, Inc. acted in concert with

and under the direction of Alembic Pharmaceuticals Limited and/or Alembic Global Holding SA

in the preparation and submission of ANDA No. 213682, and, if the ANDA is approved, will act

in concert with and under the direction of Alembic Pharmaceuticals Limited and/or Alembic

Global Holding SA to engage in the commercial manufacture, use, sale, offer for sale, and/or

importation of the Alembic ANDA Products in or into the United States, including Delaware,

prior to the expiration of the ’938 and ’134 patents.

         13.      Alembic Pharmaceuticals Limited, by itself or together with Alembic Global

Holding SA and/or Alembic Pharmaceuticals, Inc., has taken the costly, significant step of

applying to the FDA for approval to engage in future activities, including the marketing of the

Alembic ANDA Products, that will be purposefully directed at Delaware and elsewhere.

         14.      On information and belief, Alembic Pharmaceuticals Limited has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware either directly or indirectly through subsidiaries, agents, or affiliates,


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including Alembic Pharmaceuticals, Inc.; has purposefully availed itself of the privilege of doing

business in Delaware; and derives substantial revenue from the sale of drug products in

Delaware.

         15.      Alembic Pharmaceuticals Limited, Alembic Global Holding SA, and Alembic

Pharmaceuticals, Inc. have availed themselves of the legal protections of the State of Delaware

by, among other things, admitting jurisdiction and asserting counterclaims in lawsuits filed in the

United States District Court for the District of Delaware. See, e.g., Cydex Pharms. Inc. v.

Alembic Global Holding SA et al., C.A. No. 19-956 (D. Del.).

         16.      Alembic Pharmaceuticals Limited, the entity identified in the Alembic Notice

Letter as having submitted ANDA No. 213682, has agreed with Novartis to litigate any patent

action(s) concerning ANDA No. 213682 in the District of Delaware, and has agreed, only for the

purposes of such action(s), not to challenge personal jurisdiction and venue in the District of

Delaware.

         b.       Macleods Pharmaceuticals Ltd.; Macleods Pharma USA, Inc.
                  (ANDA No. 213728)

         17.      On information and belief, Macleods Pharmaceuticals Ltd. is a corporation

organized and existing under the laws of India, having a principal place of business at Atlanta

Arcade, Marol Church Road, Andheri (East), Mumbai, India 400059.

         18.      On information and belief, Macleods Pharma USA, Inc. is a corporation

organized and existing under the laws of the State of Delaware, having a registered agent for the

service of process at Incorp Services, Inc., 919 North Market Street, Suite 950, Wilmington,

Delaware 19801, and having a principal place of business at 666 Plainsboro Road, Building 200,

Suite 230, Plainsboro, New Jersey 08536. On information and belief, Macleods Pharma USA,

Inc. is a wholly owned subsidiary of Macleods Pharmaceuticals Ltd.

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         19.      On information and belief, Macleods Pharmaceuticals Ltd. develops,

manufactures, distributes, sells, and/or imports drug products for the entire United States market

and does business in every state including Delaware, either directly or indirectly.

         20.      On information and belief, Macleods Pharma USA, Inc. develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         21.      By a letter dated September 11, 2019 (“Macleods Notice Letter”), Macleods

Pharmaceuticals Ltd. notified Novartis that (i) Macleods Pharmaceuticals Ltd. had submitted to

the FDA ANDA No. 213728 for sacubitril/valsartan tablets, 24 mg/26 mg, 49 mg/51 mg, and 97

mg/103 mg (“Macleods ANDA Products”), seeking FDA approval to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Macleods ANDA Products in or

into the United States, including Delaware, prior to the expiration of the ’659, ’938, and ’134

patents, and that (ii) ANDA No. 213728 includes a certification pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) against the ’659, ’938, and ’134 patents.

         22.      Macleods Pharmaceuticals Ltd. has committed an act of infringement in this

judicial district by filing ANDA No. 213728 with the intent to make, use, sell, offer for sale,

and/or import the Macleods ANDA Products in or into this judicial district, prior to the

expiration of the ’659, ’938, and ’134 patents, an act of infringement that has led and will lead to

foreseeable harm and injury to Novartis, a Delaware corporation.

         23.      On information and belief, Macleods Pharma USA, Inc. acted in concert with and

under the direction of Macleods Pharmaceuticals Ltd. in the preparation and submission of

ANDA No. 213728, and, if the ANDA is approved, will act in concert with and under the

direction of Macleods Pharmaceuticals Ltd. to engage in the commercial manufacture, use, sale,


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offer for sale, and/or importation of the Macleods ANDA Products in or into the United States,

including Delaware, prior to the expiration of the ’659, ’938, and ’134 patents.

         24.      Macleods Pharmaceuticals Ltd., by itself or together with Macleods Pharma USA,

Inc., has taken the costly, significant step of applying to the FDA for approval to engage in future

activities, including the marketing of the Macleods ANDA Products, that will be purposefully

directed at Delaware and elsewhere.

         25.      On information and belief, Macleods Pharmaceuticals Ltd. has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates,

including Macleods Pharma USA, Inc.; has purposefully availed itself of the privilege of doing

business in Delaware; and derives substantial revenue from the sale of drug products in

Delaware.

         26.      Macleods Pharmaceuticals Ltd. and Macleods Pharma USA, Inc. have availed

themselves of the legal protections of the State of Delaware by, among other things, admitting

jurisdiction and asserting counterclaims in lawsuits filed in the United States District Court for

the District of Delaware. See, e.g., Merck Sharp & Dohme Corp. v. Macleods Pharms. Ltd. et

al., C.A. No. 19-316 (D. Del.).

         c.       Natco Pharma Limited; Natco Pharma, Inc.
                  (ANDA No. 213689)

         27.      On information and belief, Natco Pharma Limited is a corporation organized and

existing under the laws of India, having a principal place of business at Natco House Road No. 2,

Banjara Hills, Hyderabad 50034, India.



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         28.      On information and belief, Natco Pharma, Inc. is a corporation organized and

existing under the laws of the State of Delaware, having a registered agent for the service of

process at Business Filings Incorporated, 108 West 13th Street, Wilmington, Delaware 19801,

and having a principal place of business at 241 West Roseville Road, Lancaster, Pennsylvania

17601. On information and belief, Natco Pharma, Inc. is a wholly owned subsidiary of Natco

Pharma Limited.

         29.      On information and belief, Natco Pharma Limited develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         30.      On information and belief, Natco Pharma, Inc. develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         31.      By a letter dated September 11, 2019 (“Natco Notice Letter”), Natco Pharma

Limited notified Novartis that (i) Natco Pharma Limited had submitted to the FDA ANDA No.

213689 for sacubitril/valsartan tablets, 24 mg/26 mg, 49 mg/51 mg, and 97 mg/103 mg (“Natco

ANDA Products”), seeking FDA approval to engage in the commercial manufacture, use, sale,

offer for sale, and/or importation of the Natco ANDA Products in or into the United States,

including Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents, and that (ii)

ANDA No. 213689 includes a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) against

the ’659, ’331, ’938, and ’134 patents.

         32.      Natco Pharma Limited has committed an act of infringement in this judicial

district by filing ANDA No. 213689 with the intent to make, use, sell, offer for sale, and/or

import the Natco ANDA Products in or into this judicial district, prior to the expiration of the


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’659, ’331, ’938, and ’134 patents, an act of infringement that has led and will lead to

foreseeable harm and injury to Novartis, a Delaware corporation.

         33.      On information and belief, Natco Pharma, Inc. acted in concert with and under the

direction of Natco Pharma Limited in the preparation and submission of ANDA No. 213689,

and, if the ANDA is approved, will act in concert with and under the direction of Natco Pharma

Limited to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Natco ANDA Products in or into the United States, including Delaware, prior to the

expiration of the ’659, ’331, ’938, and ’134 patents.

         34.      Natco Pharma Limited, by itself or together with Natco Pharma, Inc., has taken

the costly, significant step of applying to the FDA for approval to engage in future activities,

including the marketing of the Natco ANDA Products, that will be purposefully directed at

Delaware and elsewhere.

         35.      On information and belief, Natco Pharma Limited has systematic and continuous

contacts with Delaware; has established distribution channels for drug products in Delaware;

regularly and continuously conducts business in Delaware, including by selling drug products in

Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates, including

Natco Pharma, Inc.; has purposefully availed itself of the privilege of doing business in

Delaware; and derives substantial revenue from the sale of drug products in Delaware.

         36.      Natco Pharma Limited, the entity identified in the Natco Notice Letter as having

submitted ANDA No. 213689, has agreed with Novartis to litigate any patent action(s)

concerning ANDA No. 213689 in the District of Delaware, and has agreed, only for the purposes

of such action(s), not to challenge personal jurisdiction and venue in the District of Delaware.




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                                   JURISDICTION AND VENUE

         37.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

         a.       Alembic Pharmaceuticals Limited; Alembic Global Holding SA;
                  Alembic Pharmaceuticals, Inc.
                  (ANDA No. 213682)

         38.      This Court has personal jurisdiction over Alembic Pharmaceuticals Limited,

Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc. because, on information and

belief, each such Defendant has committed or has aided, abetted, contributed to, or participated

in the commission of tortious acts of patent infringement in preparing and submitting ANDA No.

213682 with a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to

foreseeable harm and injury to Novartis, a Delaware corporation.

         39.      This Court also has personal jurisdiction over Alembic Pharmaceuticals Limited,

Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc. because, on information and

belief, each such Defendant, upon approval of ANDA No. 213682, will commit or will aid, abet,

contribute to, or participate in future tortious acts of patent infringement permitted under ANDA

No. 213682 that will be purposefully directed at Delaware, including the marketing of the

Alembic ANDA Products in Delaware, prior to the expiration of the ’938 and ’134 patents.

         40.      This Court also has personal jurisdiction over Alembic Pharmaceuticals Limited,

Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc. because, on information and

belief, each such Defendant’s affiliations with the State of Delaware, including Alembic

Pharmaceuticals, Inc.’s incorporation in Delaware, and Alembic Pharmaceuticals Limited and

Alembic Global Holding SA’s ownership of and actions in concert with Alembic

Pharmaceuticals, Inc., are sufficiently continuous and systematic as to render each such

Defendant essentially at home in this forum.
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         41.      This Court also has personal jurisdiction over Alembic Pharmaceuticals Limited,

Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc. because each such Defendant

has availed itself of the legal protections of the State of Delaware, by admitting jurisdiction and

asserting counterclaims in lawsuits filed in the United States District Court for the District of

Delaware.

         42.      Alembic Pharmaceuticals Limited, the entity identified in the Alembic Notice

Letter as having submitted ANDA No. 213682, has agreed with Novartis to litigate this action in

Delaware and not to contest personal jurisdiction or venue in Delaware in this action.

         43.      For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Alembic Pharmaceuticals

Limited, Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc.

         44.      Venue is proper in this Court because Alembic Pharmaceuticals, Inc. is

incorporated in the State of Delaware and therefore resides in this judicial district, and because

Alembic Pharmaceuticals Limited and Alembic Global Holding SA are foreign entities who may

be sued in any judicial district, including Delaware. 28 U.S.C. § 1400(b); 28 U.S.C.

§ 1391(c)(3).

         b.       Macleods Pharmaceuticals Ltd.; Macleods Pharma USA, Inc.
                  ANDA No. 213728)

         45.      This Court has personal jurisdiction over Macleods Pharmaceuticals Ltd. and

Macleods Pharma USA, Inc. because, on information and belief, each such Defendant has

committed or has aided, abetted, contributed to, or participated in the commission of tortious acts

of patent infringement in preparing and submitting ANDA No. 213728 with a certification

pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to foreseeable harm and injury

to Novartis, a Delaware corporation.

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         46.      This Court also has personal jurisdiction over Macleods Pharmaceuticals Ltd. and

Macleods Pharma USA, Inc. because, on information and belief, each such Defendant, upon

approval of ANDA No. 213728, will commit or will aid, abet, contribute to, or participate in

future tortious acts of patent infringement permitted under ANDA No. 213728 that will be

purposefully directed at Delaware, including the marketing of the Macleods ANDA Products in

Delaware, prior to the expiration of the ’659, ’938, and ’134 patents.

         47.      This Court also has personal jurisdiction over Macleods Pharmaceuticals Ltd. and

Macleods Pharma USA, Inc. because, on information and belief, each such Defendant’s

affiliations with the State of Delaware, including Macleod Pharma USA, Inc.’s incorporation in

Delaware, and Macleods Pharmaceuticals Ltd.’s ownership of and actions in concert with

Macleods Pharma USA, Inc., are sufficiently continuous and systematic as to render each such

Defendant essentially at home in this forum.

         48.      This Court also has personal jurisdiction over Macleods Pharmaceuticals Ltd. and

Macleods Pharma USA, Inc. because Macleods Pharmaceuticals Ltd. and Macleods Pharma

USA, Inc. have availed themselves of the legal protections of the State of Delaware, by admitting

jurisdiction and asserting counterclaims in lawsuits filed in the United States District Court for

the District of Delaware.

         49.      For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Macleods Pharmaceuticals

Ltd. and Macleods Pharma USA, Inc.

         50.      Venue is proper in this Court because Macleods Pharma USA, Inc. is incorporated

in the State of Delaware and therefore resides in this judicial district, and Macleods




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Pharmaceuticals Ltd. is a foreign entity who may be sued in any judicial district, including

Delaware. 28 U.S.C. § 1400(b); 28 U.S.C. § 1391(c)(3).

         c.       Natco Pharma Limited; Natco Pharma, Inc.
                  (ANDA No. 213689)

         51.      This Court has personal jurisdiction over Natco Pharma Limited and Natco

Pharma, Inc. because, on information and belief, each such Defendant has committed or has

aided, abetted, contributed to, or participated in the commission of tortious acts of patent

infringement in preparing and submitting ANDA No. 213689 with a certification pursuant to 21

U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to foreseeable harm and injury to Novartis, a

Delaware corporation.

         52.      This Court also has personal jurisdiction over Natco Pharma Limited and Natco

Pharma, Inc. because, on information and belief, each such Defendant, upon approval of ANDA

No. 213689, will commit or will aid, abet, contribute to, or participate in future tortious acts of

patent infringement permitted under ANDA No. 213689 that will be purposefully directed at

Delaware, including the marketing of the Natco ANDA Products in Delaware, prior to the

expiration of the ’659, ’331, ’938, and ’134 patents.

         53.      This Court also has personal jurisdiction over Natco Pharma Limited and Natco

Pharma, Inc. because each such Defendant’s affiliations with the State of Delaware, including

Natco Pharma, Inc.’s incorporation in Delaware, and Natco Pharma Limited’s ownership of and

actions in concert with Natco Pharma, Inc., are sufficiently continuous and systematic as to

render each such Defendant essentially at home in this forum.

         54.      Natco Pharma Limited, the entity identified in the Natco Notice Letter as having

submitted ANDA No. 213689, has agreed with Novartis to litigate this action in Delaware and

not to contest personal jurisdiction or venue in Delaware in this action.

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         55.      For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Natco Pharma Limited and

Natco Pharma, Inc.

         56.      Venue is proper in this Court because Natco Pharma, Inc. is incorporated in the

State of Delaware and therefore resides in this judicial district, and Natco Pharma Limited is a

foreign entity who may be sued in any judicial district, including Delaware. 28 U.S.C.

§ 1400(b); 28 U.S.C. § 1391(c)(3).

                           THE PATENTS-IN-SUIT AND ENTRESTO®

         57.      Novartis is the owner of the ’659 patent, titled “Methods of treatment and

pharmaceutical composition.” The ’659 patent was duly and legally issued on January 24, 2012.

A true and correct copy of the ’659 patent is attached hereto as Exhibit A.

         58.      The ’659 patent claims, inter alia, a pharmaceutical composition comprising (i)

valsartan or a pharmaceutically acceptable salt thereof; (ii) sacubitril or sacubitrilat or a

pharmaceutically acceptable salt thereof; and (iii) a pharmaceutically acceptable carrier; wherein

(i) and (ii) are administered in combination in about a 1:1 ratio.

         59.      Novartis is the owner of the ’331 patent, titled “Methods of treatment and

pharmaceutical composition.” The ’331 patent was duly and legally issued on August 5, 2014.

A true and correct copy of the ’331 patent is attached hereto as Exhibit B.

         60.      The ’331 patent claims, inter alia, a method for the treatment of heart failure or

hypertension, comprising administering to a patient in need thereof a therapeutically effective

amount of the combination of (i) valsartan or a pharmaceutically acceptable salt thereof; and (ii)

sacubitril or sacubitrilat or a pharmaceutically acceptable salt thereof; wherein (i) and (ii) are

administered in one unit dose form or in two separate unit dose forms.


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         61.      Novartis is the owner of the ’938 patent, titled “Compounds containing S-N-

valeryl-N-{[2′-(1H-tetrazole-5-yl)-biphenyl-4-yl]-methyl}-valine and (2R,4S)-5-biphenyl-4-yl-4-

(3-carboxy-propionylamino)-2-methyl-pentanoic acid ethyl ester moieties and cations.” The

’938 patent was duly and legally issued on November 4, 2014. A true and correct copy of the

’938 patent is attached hereto as Exhibit C.

         62.      The ’938 patent claims, inter alia, trisodium [3-((1S,3R)-1-biphenyl-4-ylmethyl-

3-ethoxycarbonyl-1-butylcarbamoyl)propionate-(S)-3′-methyl-2′-(pentanoyl{2″-(tetrazol-5-

ylate)biphenyl-4′-ylmethyl}amino)butyrate] hemipentahydrate (“sacubitril/valsartan trisodium

hemipentahydrate complex”) in crystalline form.

         63.      Novartis is the owner of the ’134 patent, titled “Compounds containing S-N-

valeryl-N-{[2′-(1H-tetrazole-5-yl)-biphenyl-4-yl]-methyl}-valine and (2R,4S)-5-biphenyl-4-yl-4-

(3-carboxy-propionylamino)-2-methyl-pentanoic acid ethyl ester moieties and cations.” The

’134 patent was duly and legally issued on July 12, 2016. A true and correct copy of the ’134

patent is attached hereto as Exhibit D.

         64.      The ’134 patent claims, inter alia, a method for the treatment of heart failure or

hypertension, in a patient in need thereof comprising administering to the patient a

therapeutically effective amount of a sacubitril/valsartan trisodium hemipentahydrate complex.

         65.      Novartis is the holder of New Drug Application (“NDA”) No. 207620 by which

the FDA granted approval for the commercial manufacturing, marketing, sale, and use of

ENTRESTO® (sacubitril and valsartan) tablets, 24 mg/26 mg, 49 mg/51 mg, and 97 mg/103 mg.

ENTRESTO® currently is indicated to reduce the risk of cardiovascular death and hospitalization

for heart failure in patients with chronic heart failure (NYHA Class II-IV) and reduced ejection




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fraction, and for the treatment of symptomatic heart failure with systemic left ventricular systolic

dysfunction in pediatric patients aged one year and older.

         66.      One or more claims of each of the ’659, ’331, ’938, and ’134 patents cover

ENTRESTO® and/or the use thereof.

         67.      The FDA’s official publication of approved drugs (the “Orange Book”) lists the

’659, ’331, ’938, and ’134 patents in connection with ENTRESTO®.

          INFRINGEMENT BY EACH DEFENDANT OF THE PATENTS-IN-SUIT

         68.      Novartis incorporates paragraphs 1 – 36 and 57 – 67 as if fully set forth herein.

         a.       Alembic Pharmaceuticals Limited; Alembic Global Holding SA;
                  Alembic Pharmaceuticals, Inc.
                  (ANDA No. 213682)

         69.      On information and belief, Alembic Pharmaceuticals Limited, by itself or in

concert with Alembic Global Holding SA, and/or Alembic Pharmaceuticals, Inc., submitted to

the FDA ANDA No. 213682 under the provisions of 21 U.S.C. § 355(j) seeking approval to

engage in the commercial manufacture, use, sale, offer for sale, and/or importation of the

Alembic ANDA Products prior to the expiration of the ’938 and ’134 patents.

         70.      This action was commenced within 45 days of Novartis’s receipt of the Alembic

Notice Letter.

         71.      By filing its ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Alembic ANDA Products in or into the United States prior to the expiration of the ’938 and

’134 patents, Alembic Pharmaceuticals Limited, and, on information and belief, Alembic Global

Holding SA and Alembic Pharmaceuticals, Inc., have committed an act of infringement under 35

U.S.C. § 271(e)(2).


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         72.      On information and belief, when Alembic Pharmaceuticals Limited filed ANDA

No. 213682, Alembic Pharmaceuticals Limited, Alembic Global Holding SA, and Alembic

Pharmaceuticals, Inc. were aware of the ’938 and ’134 patents and that the filing of the ANDA

with the request for its approval prior to the expiration of the ’938 and ’134 patents was an act of

infringement of those patents.

         73.      On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Alembic ANDA Products in or into the United States will infringe one

or more claims of the ’938 and ’134 patents.

         74.      On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Alembic ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.

         75.      On information and belief, the Alembic ANDA Products, if approved, will

contain instructions for practicing a method for the treatment of heart failure in a patient in need

thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Alembic ANDA Products are approved, physicians and/or patients following said instructions

will directly infringe one or more claims of the ’134 patent. On information and belief, if the

Alembic ANDA Products are approved, Alembic Pharmaceuticals Limited, Alembic Global

Holding SA, and/or Alembic Pharmaceuticals, Inc. will actively encourage, recommend, or

promote this infringement with knowledge of the ’134 patent, and with knowledge and intent

that their acts will induce infringement of one or more claims of the ’134 patent.




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         76.      On information and belief, if the Alembic ANDA Products are approved, Alembic

Pharmaceuticals Limited, Alembic Global Holding SA, and/or Alembic Pharmaceuticals, Inc.

will commercially manufacture, sell, offer for sale, and/or import those products, which will be

specifically labeled for use in a method for the treatment of heart failure in a patient in need

thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, as recited in one or more claims of the

’134 patent. On information and belief, if the Alembic ANDA Products are approved, those

products will constitute a material part of a method for the treatment of heart failure in a patient

in need thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, as recited in one or more claims of the

’134 patent. On information and belief, if the Alembic ANDA Products are approved,

physicians and/or patients following the instructions in the Alembic ANDA Products will

directly infringe one or more claims of the ’134 patent. On information and belief, if the

Alembic ANDA Products are approved, Alembic Pharmaceuticals Limited, Alembic Global

Holding SA, and/or Alembic Pharmaceuticals, Inc. will contributorily infringe one or more

claims of the ’134 patent, and will do so with knowledge of the ’134 patent, and that the Alembic

ANDA Products are especially made or especially adapted for use in infringing one or more

claims of the ’134 patent and are not suitable for a substantial noninfringing use.

         77.      Novartis will be substantially and irreparably damaged by Alembic

Pharmaceuticals Limited’s, Alembic Global Holding SA’s, and/or Alembic Pharmaceuticals,

Inc.’s infringement of the ’938 and ’134 patents.

         78.      Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213682 be a date that is


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no earlier than November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity,

May 8, 2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the

expiry of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the Alembic ANDA Products and any act committed

by Alembic Pharmaceuticals Limited, Alembic Global Holding SA, and/or Alembic

Pharmaceuticals, Inc. with respect to the subject matter claimed in the ’938 and ’134 patents,

which act is not within the limited exclusions of 35 U.S.C. § 271(e)(1).

         79.      On information and belief, Alembic Pharmaceuticals Limited, Alembic Global

Holding SA, and Alembic Pharmaceuticals, Inc. have taken and continue to take active steps

towards the commercial manufacture, use, sale, offer for sale, and/or importation of the Alembic

ANDA Products, including seeking approval of those products under ANDA No. 213682.

         80.      There is a substantial and immediate controversy between Novartis and Alembic

Pharmaceuticals Limited, Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc.

concerning the ’938 and ’134 patents. Novartis is entitled to declaratory judgment under 28

U.S.C. §§ 2201 and 2202 that Alembic Pharmaceuticals Limited, Alembic Global Holding SA,

and/or Alembic Pharmaceuticals, Inc. will infringe, induce infringement of, and/or contributorily

infringe one or more claims of the ’938 and ’134 patents.

         b.       Macleods Pharmaceuticals Ltd.; Macleods Pharma USA, Inc.
                  (ANDA No. 213728)

         81.      On information and belief, Macleods Pharmaceuticals Ltd., by itself or in concert

with Macleods Pharma USA, Inc., submitted to the FDA ANDA No. 213728 under the

provisions of 21 U.S.C. § 355(j) seeking approval to engage in the commercial manufacture, use,

sale, offer for sale, and/or importation of the Macleods ANDA Products prior to the expiration of

the ’659, ’938, and ’134 patents.

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         82.      This action was commenced within 45 days of Novartis’s receipt of the Macleods

Notice Letter.

         83.      By filing its ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Macleods ANDA Products in or into the United States prior to the expiration of the ’659,

’938, and ’134 patents, Macleods Pharmaceuticals Ltd., and, on information and belief,

Macleods Pharma USA, Inc., have committed an act of infringement under 35 U.S.C.

§ 271(e)(2).

         84.      On information and belief, when Macleods Pharmaceuticals Ltd. filed ANDA No.

213728, Macleods Pharmaceuticals Ltd. and Macleods Pharma USA, Inc. were aware of the

’659, ’938, and ’134 patents and that the filing of the ANDA with the request for its approval

prior to the expiration of the ’659, ’938, and ’134 patents was an act of infringement of those

patents.

         85.      On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Macleods ANDA Products in or into the United States will infringe one

or more claims of the ’659, ’938, and ’134 patents.

         86.      On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Macleods ANDA Products in or into the United States will directly

infringe one or more claims of the ’659 patent.

         87.      On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Macleods ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.




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         88.      On information and belief, the Macleods ANDA Products, if approved, will

contain instructions for practicing a method for the treatment of heart failure in a patient in need

thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Macleods ANDA Products are approved, physicians and/or patients following said instructions

will directly infringe one or more claims of the ’134 patent. On information and belief, if the

Macleods ANDA Products are approved, Macleods Pharmaceuticals Ltd. and/or Macleods

Pharma USA, Inc. will actively encourage, recommend, or promote this infringement with

knowledge of the ’134 patent, and with knowledge and intent that their acts will induce

infringement of one or more claims of the ’134 patent.

         89.      On information and belief, if the Macleods ANDA Products are approved,

Macleods Pharmaceuticals Ltd. and/or Macleods Pharma USA, Inc. will commercially

manufacture, sell, offer for sale, and/or import those products, which will be specifically labeled

for use in a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Macleods ANDA Products are approved, those products will constitute a

material part of a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Macleods ANDA Products are approved, physicians and/or patients following

the instructions in the Macleods ANDA Products will directly infringe one or more claims of the


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’134 patent. On information and belief, if the Macleods ANDA Products are approved,

Macleods Pharmaceuticals Ltd. and/or Macleods Pharma USA, Inc. will contributorily infringe

one or more claims of the ’134 patent, and will do so with knowledge of the ’134 patent, and that

the Macleods ANDA Products are especially made or especially adapted for use in infringing

one or more claims of the ’134 patent and are not suitable for a substantial noninfringing use.

         90.      Novartis will be substantially and irreparably damaged by Macleods

Pharmaceuticals Ltd.’s and/or Macleods Pharma USA, Inc.’s infringement of the ’659, ’938, and

’134 patents.

         91.      Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213728 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 patent’s pediatric exclusivity, November

27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8, 2027, the

expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry of any

other patent extension or exclusivity to which Novartis is entitled, and an award of damages for

any commercial sale or use of the Macleods ANDA Products and any act committed by

Macleods Pharmaceuticals Ltd. and/or Macleods Pharma USA, Inc. with respect to the subject

matter claimed in the ’659, ’938, and ’134 patents, which act is not within the limited exclusions

of 35 U.S.C. § 271(e)(1).

         92.      On information and belief, Macleods Pharmaceuticals Ltd. and Macleods Pharma

USA, Inc. have taken and continue to take active steps towards the commercial manufacture, use,

sale, offer for sale, and/or importation of the Macleods ANDA Products, including seeking

approval of those products under ANDA No. 213728.




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         93.      There is a substantial and immediate controversy between Novartis and Macleods

Pharmaceuticals Ltd. and Macleods Pharma USA, Inc. concerning the ’659, ’938, and ’134

patents. Novartis is entitled to declaratory judgment under 28 U.S.C. §§ 2201 and 2202 that

Macleods Pharmaceuticals Ltd. and Macleods Pharma USA, Inc. will infringe, induce

infringement of, and/or contributorily infringe one or more claims of the ’659, ’938, and ’134

patents.

         c.       Natco Pharma Limited; Natco Pharma, Inc.
                  (ANDA No. 213689)

         94.      On information and belief, Natco Pharma Limited, by itself or in concert with

Natco Pharma, Inc., submitted to the FDA ANDA No. 213689 under the provisions of 21 U.S.C.

§ 355(j) seeking approval to engage in the commercial manufacture, use, sale, offer for sale,

and/or importation of the Natco ANDA Products prior to the expiration of the ’659, ’331, ’938,

and ’134 patents.

         95.      This action was commenced within 45 days of Novartis’s receipt of the Natco

Notice Letter.

         96.      By filing its ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Natco ANDA Products in or into the United States prior to the expiration of the ’659, ’331,

’938, and ’134 patents, Natco Pharma Limited, and, on information and belief, Natco Pharma,

Inc., have committed an act of infringement under 35 U.S.C. § 271(e)(2).

         97.      On information and belief, when Natco Pharma Limited filed ANDA No. 213689,

Natco Pharma Limited and Natco Pharma, Inc. were aware of the ’659, ’331, ’938, and ’134

patents and that the filing of the ANDA with the request for its approval prior to the expiration of

the ’659, ’331, ’938, and ’134 patents was an act of infringement of those patents.

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         98.      On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Natco ANDA Products in or into the United States will infringe one or

more claims of the ’659, ’331, ’938, and ’134 patents.

         99.      The Natco Notice Letter does not deny that use of the Natco ANDA Products

would infringe claims 1-4 of the ’659 patent, and that the use of the Natco ANDA Products

would infringe claims 1, 2 and 4-8 of the ’331 patent, on any basis other than the alleged

invalidity of those claims.

         100.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Natco ANDA Products in or into the United States will directly

infringe one or more claims of the ’659 patent.

         101.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Natco ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.

         102.     On information and belief, the Natco ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure comprising administering to

a patient in need thereof a therapeutically effective amount of sacubitril/valsartan or their

pharmaceutically acceptable salts, which administration will constitute direct infringement of

one or more claims of the ’331 patent. On information and belief, if the Natco ANDA Products

are approved, physicians and/or patients following said instructions will directly infringe one or

more claims of the ’331 patent. On information and belief, if the Natco ANDA Products are

approved, Natco Pharma Limited and/or Natco Pharma, Inc. will actively encourage,

recommend, or promote this infringement with knowledge of the ’331 patent, and with




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knowledge and intent that their acts will induce infringement of one or more claims of the ’331

patent.

          103.    On information and belief, if the Natco ANDA Products are approved, Natco

Pharma Limited and/or Natco Pharma, Inc. will commercially manufacture, sell, offer for sale,

and/or import those products, which will be specifically labeled for use in a method for the

treatment of heart failure comprising administering to a patient in need thereof a therapeutically

effective amount of sacubitril/valsartan or their pharmaceutically acceptable salts, as recited in

one or more claims of the ’331 patent. On information and belief, if the Natco ANDA Products

are approved, those products will constitute a material part of a method for the treatment of heart

failure comprising administering to a patient in need thereof a therapeutically effective amount

of sacubitril/valsartan or their pharmaceutically acceptable salts, as recited in one or more claims

of the ’331 patent. On information and belief, if the Natco ANDA Products are approved,

physicians and/or patients following the instructions in the Natco ANDA Products will directly

infringe one or more claims of the ’331 patent. On information and belief, if the Natco ANDA

Products are approved, Natco Pharma Limited and/or Natco Pharma, Inc. will contributorily

infringe one or more claims of the ’331 patent, and will do so with knowledge of the ’331 patent,

and that the Natco ANDA Products are especially made or especially adapted for use in

infringing one or more claims of the ’331 patent and are not suitable for a substantial

noninfringing use.

          104.    On information and belief, the Natco ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure in a patient in need thereof

comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute


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direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Natco ANDA Products are approved, physicians and/or patients following said instructions will

directly infringe one or more claims of the ’134 patent. On information and belief, if the Natco

ANDA Products are approved, Natco Pharma Limited and/or Natco Pharma, Inc. will actively

encourage, recommend, or promote this infringement with knowledge of the ’134 patent, and

with knowledge and intent that their acts will induce infringement of one or more claims of the

’134 patent.

         105.     On information and belief, if the Natco ANDA Products are approved, Natco

Pharma Limited and/or Natco Pharma, Inc. will commercially manufacture, sell, offer for sale,

and/or import those products, which will be specifically labeled for use in a method for the

treatment of heart failure in a patient in need thereof comprising administering to the patient a

therapeutically effective amount of a sacubitril/valsartan trisodium hemipentahydrate complex,

as recited in one or more claims of the ’134 patent. On information and belief, if the Natco

ANDA Products are approved, those products will constitute a material part of a method for the

treatment of heart failure in a patient in need thereof comprising administering to the patient a

therapeutically effective amount of a sacubitril/valsartan trisodium hemipentahydrate complex,

as recited in one or more claims of the ’134 patent. On information and belief, if the Natco

ANDA Products are approved, physicians and/or patients following the instructions in the Natco

ANDA Products will directly infringe one or more claims of the ’134 patent. On information

and belief, if the Natco ANDA Products are approved, Natco Pharma Limited and/or Natco

Pharma, Inc. will contributorily infringe one or more claims of the ’134 patent, and will do so

with knowledge of the ’134 patent, and that the Natco ANDA Products are especially made or




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especially adapted for use in infringing one or more claims of the ’134 patent and are not suitable

for a substantial noninfringing use.

         106.     Novartis will be substantially and irreparably damaged by Natco Pharma

Limited’s and/or Natco Pharma, Inc.’s infringement of the ’659, ’331, ’938, and ’134 patents.

         107.     Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213689 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 and ’331 patents’ pediatric exclusivity,

November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8,

2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry

of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the Natco ANDA Products and any act committed by

Natco Pharma Limited and Natco Pharma, Inc. with respect to the subject matter claimed in the

’659, ’331, ’938, and ’134 patents, which act is not within the limited exclusions of 35 U.S.C.

§ 271(e)(1).

         108.     On information and belief, Natco Pharma Limited and Natco Pharma, Inc. have

taken and continue to take active steps towards the commercial manufacture, use, sale, offer for

sale, and/or importation of the Natco ANDA Products, including seeking approval of those

products under ANDA No. 213689.

         109.     There is a substantial and immediate controversy between Novartis and Natco

Pharma Limited and Natco Pharma, Inc. concerning the ’659, ’331, ’938, and ’134 patents.

Novartis is entitled to declaratory judgment under 28 U.S.C. §§ 2201 and 2202 that Natco

Pharma Limited and Natco Pharma, Inc. will infringe, induce infringement of, and/or

contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents.


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                                      PRAYER FOR RELIEF

         WHEREFORE, Novartis prays that this Court grant the following relief:

         a.       Alembic Pharmaceuticals Limited; Alembic Global Holding SA;
                  Alembic Pharmaceuticals, Inc.
                  (ANDA No. 213682)

         110.     Judgment that defendants Alembic Pharmaceuticals Limited, Alembic Global

Holding SA, and Alembic Pharmaceuticals, Inc. have infringed one or more claims of the ’938

and ’134 patents by filing ANDA No. 213682;

         111.     A permanent injunction restraining and enjoining defendants Alembic

Pharmaceuticals Limited, Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc. and

their officers, agents, attorneys, and employees, and those acting in privity or concert with them,

from engaging in the commercial manufacture, use, sale, or offer for sale in the United States, or

importation into the United States, of the Alembic ANDA Products prior to the expiration of the

’938 and ’134 patents, inclusive of any extensions and additional periods of exclusivity;

         112.     An order that the effective date of any approval of ANDA No. 213682 be a date

that is not earlier than the expiration dates of the ’938 and ’134 patents, inclusive of any

extensions and additional periods of exclusivity;

         113.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Alembic ANDA Products will directly infringe, induce infringement

of, and/or contributorily infringe one or more claims of the ’938 and ’134 patents;

         114.     Damages or other monetary relief from defendants Alembic Pharmaceuticals

Limited, Alembic Global Holding SA, and Alembic Pharmaceuticals, Inc. for the infringement,

inducement of infringement and contributory infringement of the ’938 and ’134 patents;

         115.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;
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         116.     Novartis’s costs and expenses in this action; and

         117.     Such other and further relief as the Court may deem just and proper.

         b.       Macleods Pharmaceuticals Ltd.; Macleods Pharma USA, Inc.
                  (ANDA No. 213728)

         118.     Judgment that defendants Macleods Pharmaceuticals Ltd. and Macleods Pharma

USA, Inc. have infringed one or more claims of the ’659, ’938, and ’134 patents by filing ANDA

No. 213728;

         119.     A permanent injunction restraining and enjoining defendants Macleods

Pharmaceuticals Ltd. and Macleods Pharma USA, Inc., and their officers, agents, attorneys, and

employees, and those acting in privity or concert with them, from engaging in the commercial

manufacture, use, sale, or offer for sale in the United States, or importation into the United

States, of the Macleods ANDA Products prior to the expiration of the ’659, ’938, and ’134

patents, inclusive of any extensions and additional periods of exclusivity;

         120.     An order that the effective date of any approval of ANDA No. 213728 be a date

that is not earlier than the expiration dates of the ’659, ’938, and ’134 patents, inclusive of any

extensions and additional periods of exclusivity;

         121.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Macleods ANDA Products will directly infringe, induce infringement

of, and/or contributorily infringe one or more claims of the ’659, ’938, and ’134 patents;

         122.     Damages or other monetary relief from defendants Macleods Pharmaceuticals

Ltd. and Macleods Pharma USA, Inc. for the infringement, inducement of infringement and

contributory infringement of the ’659, ’938, and ’134 patents;

         123.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

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         124.     Novartis’s costs and expenses in this action; and

         125.     Such other and further relief as the Court may deem just and proper.

         c.       Natco Pharma Limited; Natco Pharma, Inc.
                  (ANDA No. 213689)

         126.     Judgment that defendants Natco Pharma Limited and Natco Pharma, Inc. have

infringed one or more claims of the ’659, ’331, ’938, and ’134 patents by filing ANDA No.

213689;

         127.     A permanent injunction restraining and enjoining defendants Natco Pharma

Limited and Natco Pharma, Inc., and their officers, agents, attorneys, and employees, and those

acting in privity or concert with them, from engaging in the commercial manufacture, use, sale or

offer for sale in the United States, or importation into the United States, of the Natco ANDA

Products prior to the expiration of the ’659, ’331, ’938, and ’134 patents, inclusive of any

extensions and additional periods of exclusivity;

         128.     An order that the effective date of any approval of ANDA No. 213689 be a date

that is not earlier than the expiration dates of the ’659, ’331, ’938, and ’134 patents, inclusive of

any extensions and additional periods of exclusivity;

         129.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Natco ANDA Products will directly infringe, induce infringement of,

and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents;

         130.     Damages or other monetary relief from defendants Natco Pharma Limited and

Natco Pharma, Inc. for the infringement, inducement of infringement and contributory

infringement of the ’659, ’331, ’938, and ’134 patents;

         131.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

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         132.     Novartis’s costs and expenses in this action; and

         133.     Such other and further relief as the Court may deem just and proper.




Dated: October 24, 2019                            MCCARTER & ENGLISH, LLP

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